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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
     v.                            )          2:12cr221-MHT
                                   )               (WO)
MARK EDWARD ELLIOTT                )

                        OPINION AND ORDER

    This case is before the court on defendant Mark

Edward Elliott’s motion for compassionate release.                      For

the reasons set forth below, the motion will be denied

without prejudice.

    Elliott seeks compassionate release under 18 U.S.C.

§ 3582(c)(1), which authorizes a court to modify a term

of imprisonment “upon motion of the defendant after the

defendant has fully exhausted all administrative rights

to appeal a failure of the Bureau of Prisons to bring a

motion on the defendant's behalf or the lapse of 30

days from the receipt of such a request by the warden

of the defendant's facility, whichever is earlier.”                      18

U.S.C. § 3582(c)(1)(A).
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       Section 571.61 of Bureau of Prisons (BOP) Program

Statement 5050.50 requires that the prisoner seeking

compassionate release (or another person acting on his

behalf, see BOP Program Statement 5050.50 § 571.61(b))

submit to the Warden a request for the BOP to file a

motion      for    compassionate           release   under    18    U.S.C.

§ 3582(c)(1)(A). “An inmate may initiate a request for

consideration under 18 U.S.C. ... 3582(c)(1)(A) only

when there are particularly extraordinary or compelling

circumstances        which     could       not   reasonably    have    been

foreseen by the court at the time of sentencing.” BOP

Program Statement 5050.50 § 571.61.                  Also, the request

must contain the following information:

       “(1) The extraordinary or compelling circumstances
       that the inmate believes warrant consideration.

       “(2) Proposed release plans, including where the
       inmate will reside, how the inmate will support
       himself/herself, and, if the basis for the request
       involves the inmate’s health, information on where
       the inmate will receive medical treatment, and how
       the inmate will pay for such treatment.”

Id.




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       Defendant Elliott’s administrative requests to the

warden contained none of these details.                         Elliott did

not     list     the    health     concerns       he   now    contends       are

grounds        for     his    sentence        reduction   (the       lingering

impact      of   hepatitis-C,          cancer,    high    blood      pressure,

various      symptoms        of   COVID-19      infection)     and    did    not

detail his proposed release plans.                     See Administrative

Requests (doc. no. 942-6, 942-7).                         The court feels

that, in this case, the BOP should have an opportunity

to consider these issues before the court considers his

motion.

                                        ***

       Accordingly,          it   is   ORDERED     that      defendant      Mark

Edward Elliott’s motion for compassionate release (doc.

no. 928) is denied without prejudice.

       DONE, this the 22nd day of September, 2020.

                                          /s/ Myron H. Thompson
                                       UNITED STATES DISTRICT JUDGE
